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     Attorney for Defendant
 5
     FRANK ALIOTO
 6

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 8
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10

     UNITED STATES OF AMERICA,                     )       Case No. 2:11-cr-00190-MCE
11
                                                   )
                                                   )
12          Plaintiff,                             )       STIPULATION REGARDING
                                                   )       EXCLUDABLE TIME PERIODS
13
     v.                                            )       UNDER SPEEDY TRIAL ACT;
                                                   )       FINDINGS
14
     NICHOLAS RAMIREZ, et al.,                     )
                                                   )       Date: April 11, 2013
15
                                                   )       Time: 9:00 a.m.
            Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
16
                                                   )
                                                   )
17
                                                   )
18
            The United States of America through its undersigned counsel, Jason Hitt, Assistant
19
     United States Attorney, together with counsel for defendant Nicholas Ramirez, Michael B.
20

21   Bigelow, Esq., counsel for defendant Ung Duong, Michael L. Chastaine, counsel for defendant

22   Phat Nguyen, Michael D. Long, Esq., counsel for defendant Justin Nonoguchi, Christopher R.
23
     Cosca, Esq., counsel for defendant Frank Alioto, John R. Manning, Esq., counsel for defendant
24
     Manuel Keith, Jan D. Karowsky, Esq., counsel for defendant Tiffany Brown, Dina L. Santos,
25

26
     Esq., and counsel for defendant Andre Cawthorne, Scott L. Tedmon, Esq., hereby stipulate the

27   following:
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        1. By previous order, this matter was set for status conference on February 28, 2013.
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 2   Subsequently, by order of the Court, the matter was advanced to February 21, 2013.

 3      2. By this stipulation, defendants now move to continue the status conference until April 11,
 4
     2013 and to exclude time between February 21, 2013 and April 11, 2013 under the Local Code
 5
     T-2 and T-4.
 6

 7
        3.   The parties agree and stipulate, and request the Court find the following:

 8           a. This case was the product of a lengthy investigation in which wiretaps were utilized
 9              on multiple telephones. The government has produced discovery which to date
10
                includes 1,952 pages containing wiretap applications, periodic reports, and
11
                investigative materials. Additionally, the government has provided defense counsel
12

13              with voluminous wiretap conversations. Given this large volume of discovery, the

14              defense counsel needs additional time to review the discovery and consult with their
15
                respective clients.
16
             b. The Government does not object to the continuance.
17
             c. Based on the above-stated findings, the ends of justice served by granting the
18

19              requested continuance outweigh the best interests of the public and the defendants in

20              a speedy trial within the original date prescribed by the Speedy Trial Act.
21
             d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
22
                Section 3161(h)(7)(A) within which trial must commence, the time period of
23
                February 21, 2013 to April 11, 2013 inclusive, is deemed excludable pursuant to 18
24

25              United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to

26              Local Code T-2 and T-4 because it results from a continuance granted by the Court at
27
                defendant’s request on the basis of the Court’s finding that the ends of justice served
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                by taking such action outweigh the best interest of the public and the defendant in a
 1

 2              speedy trial.

 3     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
            Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
            which a trial must commence.
 6

 7   IT IS SO STIPULATED.
 8

 9
     Dated: February 19, 2013                                     /s/ Michael B. Bigelow
10                                                                MICHAEL B. BIGELOW
11
                                                                  Attorney for Defendant
                                                                  Nicholas Ramirez
12
     Dated: February 19, 2013                                     /s/ Michael L. Chastaine
13
                                                                  MICHAEL L. CHASTAINE
14                                                                Attorney for Defendant
                                                                  Ung Duong
15
     Dated: February 19, 2013                                     /s/ Michael D. Long
16
                                                                  MICHAEL D. LONG
17                                                                Attorney for Defendant
                                                                  Phat Nguyen
18
     Dated: February 19, 2013                                      /s/ Christopher R. Cosca
19
                                                                  CHRISTOPHER R. COSCA
20                                                                Attorney for Defendant
                                                                  Justin Nonoguchi
21
     Dated: February 19, 2013                                      /s/ John R. Manning
22
                                                                  JOHN R. MANNING
23                                                                Attorney for Defendant
                                                                  Frank Alioto
24
     Dated: February 19, 2013                                      /s/ Jan D. Karowsky
25
                                                                  JAN D. KAROWSKY
26                                                                Attorney for Defendant
                                                                  Manuel Keith
27

28
     Dated: February 19, 2013                                     /s/ Dina L. Santos
                                                                  DINA L. SANTOS


                                                      3
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                                                     Attorney for Defendant
 1
                                                     Tiffany Brown
 2

 3   Dated: February 19, 2013                        /s/ Scott L. Tedmon
                                                     SCOTT L. TEDMON
 4
                                                     Attorney for Defendant
 5                                                   Andre Cawthorne

 6

 7

 8   Dated: February 19, 2013                        Benjamin B. Wagner
                                                     United States Attorney
 9

10
                                                     by:/s/ Jason Hitt
                                                     JASON HITT
11                                                   Assistant U.S. Attorney
12

13                                      ORDER

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15         IT IS SO ORDERED.

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17
     DATED: February 21, 2013

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19
                                    __________________________________________
20                                  MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                    UNITED STATES DISTRICT JUDGE
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